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 2                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 3

4 H&H Pharmaceuticals, LLC,                                 Case No. 2:16-cv-02148-CDS-EJY

 5                         Plaintiff                          Order Vacating ECF No. 132

 6   v.

 7 Chattem Chemicals, Inc. et al.,

 8                        Defendants

 9

10          The Ninth Circuit Court of Appeals vacated and remanded the district court’s order
11 awarding defendants Chattem Chemicals, Inc. and Sun Pharmaceutical Industries, Inc.

12 $213,515.60 in attorney fees and $21,649.25 in costs. ECF No. 165. The mandate has issued (ECF

13 No. 167), therefore, the Clerk of Court is kindly instructed to vacate the order granting in part

14 and denying in part defendants’ motion for attorney fees and costs (ECF No. 132).

15         Dated: November 14, 2024
16                                               ________ ______ _________________
                                                 Cristina D. Silva
17                                               United States District Judge
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